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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PUBLIC CITIZEN, INC.,
  1600 20th Street NW
  Washington, DC 20009,

STATE DEMOCRACY
DEFENDERS FUND,
  600 Pennsylvania Avenue SE
  #15180
  Washington, DC 20003,
                                          Civil Action No. 1:25-cv-164
and

AMERICAN FEDERATION OF
GOVERNMENT EMPLOYEES,
  80 F Street NW
  Washington, DC 20001,

          Plaintiffs,

           v.

DONALD J. TRUMP,
in his official capacity as President
of the United States,
    1600 Pennsylvania Ave., NW
    Washington, DC 20500,

and

OFFICE OF MANAGEMENT
AND BUDGET,
  725 17th Street, NW
  Washington, DC 20503

          Defendants.


                                   COMPLAINT
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      1.     Plaintiffs Public Citizen, Inc., State Democracy Defenders Fund

(SDDF), and American Federation of Government Employees (AFGE) bring this

action seeking declaratory, injunctive, and mandamus relief against Defendants

Donald J. Trump, in his official capacity as president of the United States, and the

Office of Management and Budget (OMB), an agency of the United States, to ensure

that the so-called “Department of Government Efficiency” (DOGE) complies with the

requirements established by the Federal Advisory Committee Act (FACA), 5 U.S.C.

§§ 1001 et seq.

      2.     On the campaign trail, then-candidate Trump proposed creating a

“government efficiency commission,” which he described as a “task force,” to “audit”

federal regulatory and spending programs and propose “drastic reforms.” As

envisioned by Mr. Trump, this “efficiency” commission would not be led by federal

officers or employees, but by business executives led by Elon Musk, the world’s

wealthiest individual.

      3.     After winning the 2024 presidential election, president-elect Trump put

his idea for a private-sector-led efficiency task force into motion. Within a week of the

election, Mr. Trump identified Mr. Musk and billionaire investor Vivek Ramaswamy

as the individuals who would lead his government efficiency commission, which Mr.

Trump officially christened as the Department of Government Efficiency (DOGE).

      4.     Despite the name, DOGE is not and was never intended to be a

department of the United States government. Congressionally established agencies

such as the Department of Defense or the Department of Health and Human Services



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are led by federal officers who have been confirmed by the Senate under the

constitutionally required process. Mr. Trump has explained that DOGE will provide

“advice and guidance from outside of Government,” “partnering with the White House

and Office of Management & Budget to drive large scale structural reform.”

      5.     The advice and guidance that Mr. Trump has charged DOGE with

producing is sweeping and consequential: DOGE is to “pave the way for [his]

Administration to dismantle Government Bureaucracy, slash excess regulations, cut

wasteful expenditures, and restructure Federal Agencies.” At the same time,

DOGE—the members of which currently do not represent the interests of everyday

Americans—will be recommending cuts to government agencies and programs that

protect health, benefits, consumer finance, and product safety. Its work and

recommendations thus may endanger Plaintiffs and the hundreds of thousands of

everyday people whom they represent.

      6.     FACA authorizes an administration to establish and use commissions

or task forces to obtain advice and recommendations from the private sector on a

variety of topics, including advice and recommendations concerning regulatory or

fiscal matters. Indeed, Presidents Reagan, Clinton, and Obama each established

advisory   commissions    in   accordance       with    FACA     to     solicit   advice   and

recommendations on spending cuts from individuals outside the government.

      7.     While FACA permits the use of advisory committees, it imposes various

guardrails to prevent them from turning into vehicles for advancing private interests

in the federal decision-making process and secretly influencing federal officials’



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exercise of policymaking discretion. Those guardrails include the requirements that

advisory committee have a fair balance in viewpoints represented, that they do not

meet in secret, and that their records and work product be made available for public

inspection. FACA also prohibits advisory committees from meeting or taking any

action until a charter for the advisory committee has been filed, specifying, among

other things, the nature of the committee’s work and duties and the federal official to

whom the committee is responsible.

      8.     As of the date of the filing of this complaint, President Trump has chosen

Messrs. Musk and Ramaswamy to lead DOGE, named two other individuals to

DOGE, specified that DOGE and OMB should be partners in DOGE’s work, and

directed DOGE to complete its recommendations by July 4, 2026. President Trump

has not, however, acknowledged that DOGE will operate as an advisory committee

subject to FACA, that a charter for DOGE must be filed before DOGE can meet or

take action, that DOGE’s membership must be fairly balanced, or that DOGE is

subject to FACA’s transparency requirements. President Trump’s refusal to regard

DOGE as an advisory committee has continued in the face of Plaintiffs’ requests that

he acknowledge FACA’s applicability to DOGE and appoint representatives of

Plaintiffs to DOGE to advance FACA’s fair-balance requirement.

      9.     DOGE’s operations during the transition period were shrouded in

secrecy. Media reporting indicates that DOGE took steps outside of public view to

begin operating immediately after President Trump’s inauguration, and that DOGE

will be embedded within the White House, OMB, and other federal agencies very soon



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thereafter. Operating without complying with FACA, DOGE has already begun

developing   recommendations     and    influencing   decision-making   in     the   new

administration, even though its membership lacks the fair balance required by FACA

and its meetings and records are not open to public inspection in real time.

                          JURISDICTION AND VENUE

      10.    This Court has statutory jurisdiction over this action pursuant to 28

U.S.C. § 1331, because this action arises under the laws of the United States, namely,

FACA, 5 U.S.C. 1001 et seq., and the APA, 5 U.S.C. §§ 702, 706; and under 28 U.S.C.

§ 1361, because this action seeks to compel officers or employees of the United States

to perform duties imposed on them by FACA.

      11.    Venue is proper in this judicial district under 28 U.S.C. § 1391(b) and

(e)(1)(A) because defendants are officers and agencies of the United States and

because defendants reside in Washington, D.C.

                                       PARTIES

      12.    Plaintiff Public Citizen, Inc., is a non-profit, public-interest research,

litigation, and advocacy organization based in Washington, D.C., with members and

supporters in all 50 states. Public Citizen advocates before Congress, regulatory

agencies, and the courts to advance the interests of its members on a wide range of

consumer-protection issues. Since its founding in 1971, Public Citizen has worked to

hold the government and corporations accountable to the people, including by

focusing on research and advocacy with respect to regulation of health, safety,

consumer finance, and the environment.



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      13.    Plaintiff State Democracy Defenders Fund (SDDF) is a nonprofit

organization that seeks to defend and strengthen democracy while ensuring that

Americans are free to exercise their fundamental rights. SDDF works to advance pro-

democracy goals such as promoting a government that is free of conflicts of interests,

self-dealing, and corruption.

      14.    Plaintiff American Federation of Government Employees (AFGE)

represents approximately 800,000 workers in nearly every agency of the federal and

D.C. governments, spread across over 900 local unions. AFGE’s members include

nurses, correctional officers, doctors, Social Security professionals, Transportation

Security Officers, law enforcement officers, and park rangers, among others. On

behalf of its membership, AFGE fights for dignity, safety, and fairness on the job so

government can more effectively serve the American people.

      15.    Defendant Donald Trump is President of the United States.

      16.    Defendant OMB is a federal agency within the meaning of FACA, 5

U.S.C. § 1001(3), and the Administrative Procedure Act (APA), 5 U.S.C. § 551(1), that

is headquartered in Washington, D.C.

                           STATUTORY FRAMEWORK

      17.    Congress enacted FACA in 1972 to address the “numerous committees,

boards, commissions, councils, and similar groups which have been established to

advise officers and agencies in the executive branch of the Federal Government.” 5

U.S.C. § 1002(a). Congress declared that “standards and uniform procedures should

govern the establishment, operation, administration, and duration of advisory

committees,” that “Congress and the public should be kept informed with respect to
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the number, purpose, membership, activities, and cost of advisory committees,” and

that “the function of advisory committees should be advisory only, and all matters

under their consideration should be determined, in accordance with law, by the

official, agency, or officer involved.” Id. § 1002(b)(4)–(6).

       18.    In enacting FACA, Congress sought to curb “[o]ne of the great dangers

in the unregulated use of advisory committees”—that “special interest groups may

use their membership on such bodies to promote their private concerns.” H.R. Rep.

No. 92-1017, at 6 (1972). The House Report on FACA gave as an example a committee

on industrial wastes “organized by several national business organizations at the

request of” OMB. Id. At meetings with government officials, “only representatives of

industry were present,” and not any “representatives of conservation, environment,

clean water, consumer, or other public interest groups.” Id. FACA was intended to

prohibit “[t]his lack of balanced representation of different points of view and the

heavy representation of parties whose private interests could influence [the

committee’s] recommendations.” Id.

       19.    FACA defines an “advisory committee” to mean “a committee, board,

commission, council, conference, panel, task force, or other similar group, or any

subcommittee or other subgroup thereof (hereafter in this paragraph referred to as

‘committee’) that is established or utilized to obtain advice or recommendations for

the President or one or more agencies or officers of the federal government and that

is—(i) established by statute or reorganization plan; (ii) established or utilized by the

President; or (iii) established or utilized by one or more agencies.” 5 U.S.C.



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§ 1001(2)(A). Excluded from the definition are committees composed wholly of full-

time, or permanent part-time, officers and employees of the federal government, and

those created by the National Academy of Sciences or the National Academy of Public

Administration. These exclusions do not apply here.

        20.   FACA applies to “each advisory committee” unless the advisory

committee is created by a statute that specifically provides otherwise or the advisory

committee is established or utilized by the Central Intelligence Agency, the Federal

Reserve System, or the Office of the Director of National Intelligence, if certain

national security findings are made. 5 U.S.C. § 1003(a). These exceptions do not apply

here.

        21.   Advisory committees created by the President, agency heads, or other

Federal officials must have (1) a clearly defined purpose; (2) a membership that is

fairly balanced in terms of the points of view represented and the functions to be

performed by the advisory committee; (3) appropriate provisions to assure that the

advice and recommendations of the advisory committee will not be inappropriately

influenced by the appointing authority or by any special interest, but will instead be

the result of the advisory committee’s independent judgment. 5 U.S.C. § 1004(b), (c).

        22.   An advisory committee cannot meet or take any action until an advisory

committee charter has been filed. The charter must contain “(A) the committee’s

official designation; (B) the committee’s objectives and the scope of its activity; (C) the

period of time necessary for the committee to carry out its purposes; (D) the agency

or official to whom the committee reports; (E) the agency responsible for providing



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the necessary support for the committee; (F) a description of the duties for which the

committee is responsible, and, if the duties are not solely advisory, a specification of

the authority for the duties; (G) the estimated annual operating costs for the

committee in dollars and person-years; (H) the estimated number and frequency of

committee meetings; (I) the committee’s termination date, if less than 2 years from

the date of the committee’s establishment; and (J) the date the charter is filed.” 5

U.S.C. § 1008(c).

      23.    FACA requires advisory committee meetings to be transparent.

Advisory committee meetings must be “open to the public.” “[T]imely notice of each

meeting shall be published in the Federal Register,” and other types of public notice

must be given, in accordance with regulations of the General Services

Administration, “to insure that all interested persons are notified of each meeting in

advance.” Interested persons must also “be permitted to attend, appear before, or file

statements with any advisory committee.” 5 U.S.C. § 1009(a).

      24.    FACA requires “the records, reports, transcripts, minutes, appendixes,

working papers, drafts, studies, agenda, or other documents which were made

available to or prepared for or by each advisory committee” to be made “available for

public inspection,” and directs detailed minutes to be kept of committee meetings. 5

U.S.C. § 1009(b), (c). Meetings must be attended by a federal officer or employee

designated for that purpose, and only such an officer or employee may call or approve

the holding of an advisory committee meeting. Id. § 1009(e), (f). Transcripts of

advisory committee meetings must be made available to the public. Id. § 1010.



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                                        FACTS

DOGE’S ESTABLISHMENT AND OPERATIONS

      25.    On August 12, 2024, then-candidate Trump was interviewed by

billionaire entrepreneur Elon Musk on X, the social media site formerly known as

Twitter that is now owned by Mr. Musk. During the interview, Mr. Musk proposed to

Mr. Trump the idea of establishing a “government efficiency commission that tries to

make the spending sensible so the country lives within its means just like a person

does” and to ensure that “the taxpayers’ hard-earned money is spent in a good way.”

Mr. Musk offered “to help out on such a commission … if it were formed.” Mr. Trump

responded to this proposal by saying “I’d love it.” 1

      26.    Mr. Musk’s suggestion that Mr. Trump establish a commission to

examine federal spending was consistent with Mr. Trump’s preexisting plans for

creating a business-executive-led commission for that purpose. Reporting published

after the X interview revealed that Mr. Trump “and his advisers [had] been talking

for months about forming a commission led by prominent business executives to comb

through the government books to identify thousands of programs to cut.” Mr. Trump

was interested, if elected, in establishing a “‘blue ribbon’ commission of top executives

to eliminate wasteful federal spending … modeled after the Grace Commission, a

Reagan-era panel that recommended billions of dollars in spending cuts.” 2 The Grace

Commission, formally called the Executive Committee of the President’s Private


      1 https://www.rev.com/transcripts/elon-musk-and-donald-trump-interview.

      2 Jeff Stein & Trisha Thadani, Trump eyes plan that may give Elon Musk role

in auditing U.S. agencies, The Washington Post, Sept. 2, 2024.

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Sector Survey on Cost Control in the Federal Government, was established “in

accordance with the provisions of the Federal Advisory Committee Act” and included

up to 170 “members appointed by the President from among citizens in private life.”

Exec. Order 12369 (June 30, 1982), 47 Fed. Reg. 28899 (July 2, 1982); Exec. Order

12398 (Dec. 31, 1982), 48 Fed. Reg. 377 (Jan. 5, 1983).

      27.    Mr. Trump formally announced his intent to establish a “Government

Efficiency Commission” in a September 9, 2024, speech to the Economic Club of New

York. He explained that the commission would be “tasked with conducting a complete

financial and performance audit of the entire federal government and making

recommendations for drastic reforms.” He expected that the commission’s “first order

of business” would be to “develop an action plan to totally eliminate fraud and

improper payments within six months.” Mr. Trump also confirmed that Mr. Musk

had agreed to “head up” this “task force.” 3

      28.    One week after winning the 2024 election, president-elect Trump put

his plans for a government efficiency commission into motion. He announced, in a

post on the social media website Truth Social, that “Elon Musk, working in

conjunction with American Patriot Vivek Ramaswamy, will lead the Department of

Government Efficiency.” Mr. Trump explained that he expected Messrs. Musk and

Ramaswamy’s work on DOGE to “pave the way for my Administration to dismantle

Government Bureaucracy, slash excess regulations, cut wasteful expenditures, and




      3 https://www.econclubny.org/documents/10184/109144/20240905_Trump_

Transcript.pdf.

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restructure Federal Agencies.” Mr. Trump also stated that DOGE “will provide advice

and guidance from outside of Government, and will partner with the White House

and Office of Management & Budget to drive large scale structural reform, and create

an entrepreneurial approach to Government never seen before.” 4 Mr. Trump’s Truth

Social post also established an end date for DOGE’s work. He stated that “[t]heir work

will conclude no later than July 4, 2026.”

      29.    On December 4, 2024, Mr. Trump announced that William (“Bill”)

Joseph McGinley would serve as Counsel to DOGE. Mr. Trump stated that “Bill will

work with Elon Musk, Vivek Ramaswamy, and their team of incredible pioneers at

DOGE, to rebuild a U.S. Government that truly serves the People.” Mr. Trump also

stated that McGinley “will partner with the White House and the Office of

Management and Budget to provide advice and guidance to end the bloated Federal

Bureaucracy” and “will be at the forefront of my Administration’s efforts to make our

Government more efficient and more accountable.” 5 On December 22, 2024, Mr.

Trump announced that Katie Miller would also be joining DOGE. 6

      30.    None of the four individuals named by Mr. Trump to DOGE have a

background in consumer advocacy, anti-corruption and ethics policy, or representing

the interests of government workers.




      4 https://truthsocial.com/@realDonaldTrump/posts/113472884874740859.

      5 https://truthsocial.com/@realDonaldTrump/posts/113595819146944245.

      6 https://truthsocial.com/@realDonaldTrump/posts/113698968253776860.


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      31.    Mr. Musk, the world’s richest individual, is a corporate executive whose

companies earn revenue from federal contracts. Mr. Ramaswamy is also a billionaire

investor who founded a biotech firm that stands to benefit from weaker federal drug

regulation. Ms. Miller’s background is handling press relations. Mr. McGinley has

primarily worked as an attorney.

      32.    On November 20, 2024, Messrs. Musk and Ramaswamy co-authored an

opinion published in the Wall Street Journal, in which they confirmed that “President

Trump has asked the two of us to lead a newly formed Department of Government

Efficiency.” They described themselves as “entrepreneurs” and “outside volunteers,

not federal officials or employees.” They explained that the DOGE team “will work in

the new administration closely with the White House Office of Management and

Budget.”

      33.    Messrs. Musk and Ramaswamy also described what they understood to

be the type of advice that Mr. Trump has asked DOGE to provide the White House

and OMB. Asserting that most “government enforcement decisions and discretionary

expenditures aren’t made by the democratically elected president or even his political

appointees but by millions of unelected, unappointed civil servants within

government agencies,” they explained that President Trump has asked them to “cut

the federal government down to size.”

      34.    Messrs. Musk and Ramaswamy promised to pursue “regulatory

rescissions, administrative reductions, and cost savings.” They promised that DOGE

would “present [a] list of regulations to President Trump” so that he could take



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“executive action” to “pause the enforcement of those regulations and initiate the

process for review and recission.”

      35.    Messrs. Musk and Ramaswamy promised to “identify the minimum

number of employees required at an agency” to achieve a “mass head-count

reductions across the federal bureaucracy.”

      36.    Messrs. Musk and Ramaswamy stated that “DOGE will help end federal

overspending by taking aim at the $500 billion plus in annual federal expenditures

that are unauthorized by Congress or being used in ways that Congress never

intended” and that DOGE would “identify[] pinpoint executive actions that would

result in immediate savings for taxpayers.”

VIOLATIONS OF FACA AND HARM TO PLAINTIFFS

      37.    DOGE is an advisory committee charged by Mr. Trump with providing

advice or recommendations to the President and to one or more federal agencies

regarding regulatory and fiscal matters. DOGE thus has an organized structure, a

membership of non-governmental employees, and a specific purpose.

      38.    In the period between the 2024 election and the inauguration, DOGE

began taking actions to enable it to begin carrying out its charge upon Mr. Trump

being sworn in. During the transition period, DOGE representatives had

“preliminary interviews” with officials at more than a dozen federal agencies. 7 DOGE

has plans to embed representatives in federal agencies. Other DOGE personnel would




      7 Faiz Siddiqui et al., DOGE is dispatching agents across U.S. government,

Washington Post, Jan. 10, 2025.

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be located within the Executive Office of the President at the U.S. Digital Service.

“DOGE is also expected to have an office” at OMB. 8

      39.     According to media reports, individuals involved in DOGE have sought

to maintain “secrecy” about its activities. Such individuals have conducted “much of

its communication … on Signal, the encrypted messaging app,” 9 and have not made

those communications available to the public.

      40.     On November 20, 2024, Public Citizen sent a letter to President Trump’s

transition co-chairs advising them that DOGE would be an advisory committee

subject to FACA’s accountability and transparency requirements. Public Citizen did

not receive a response to the November 20 letter.

      41.     On January 13, 2025, Public Citizen’s co-presidents, Lisa Gilbert and

Robert Weissman, sent a letter to President Trump’s transition co-chairs requesting

that they be appointed to DOGE as voices for the consumers and the public who would

be affected by DOGE’s work. They explained that, in light of Public Citizen’s work

since its founding in 1971 to hold the government and corporations accountable to the

people, they have a direct interest in DOGE’s mission of advising the administration

on, and making recommendations regarding, the federal government’s regulatory and

spending policies. They observed that DOGE lacked balance in points of view because

individuals associated with DOGE generally came from corporate backgrounds. In

particular, Gilbert and Weissman explained that DOGE lacked any members with a


      8 Theordore Schleifer & Madeleine Ngo, Inside Elon Musk’s Plan for DOGE to

Slash Government Costs, N.Y. Times, Jan. 12, 2025.
      9 Id.


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background in representing the interests of consumers and the public. The letter

explained that appointing individuals with such a background was needed to enable

compliance with FACA’s requirement that advisory committees be fairly balanced in

terms of the points of view represented. Public Citizen has not received a response to

the January 13 letter.

      42.    On January 16, 2025, SDDF’s Executive Chair Ambassador Norman

Eisen (ret.) and its Chief Ethics and Anticorruption Officer Virginia Canter requested

appointment to DOGE as voices for the interests of good government and anti-

corruption. The letter explained that ethics and anti-corruption expertise is needed

on DOGE because of the conflicts of interest and structural issues DOGE faces. The

letter also explained that DOGE should not focus only on eliminating rules and

spending without considering the integrity and efficient administration of

government operations to benefit all Americans, including anti-corruption measures

to protect against policies and practices that benefit a small minority of individuals

at the expense of the vast majority of the public.

      43.    SDDF did not receive a direct response to its request. On January 16,

2025, the New York Times reported that SDDF’s request for an appointment had

been rejected. In explaining the rejection, DOGE member and Mr. Trump’s transition

spokesperson Katie Miller explained that “President Trump’s Truth [Social post]

made clear we have no room in our administration for Democrats.” 10




      10 David A. Fahrenthold, Two Watchdogs Were Rebuffed From Joining

Trump’s Cost-Cutting Effort, N.Y. Times, Jan. 16, 2025.

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      44.    On January 16, 2025, AFGE’s president Dr. Everett B. Kelley requested

that an AFGE representative be appointed to DOGE for the voices of the thousands

of federal workers who would be affected by DOGE’s recommendations. Dr. Kelley

explained that AFGE has a deep knowledge of the federal government and many of

the issues faced by its agencies and employees, along with the essential functions

they perform. The letter noted that AFGE’s experience would allow it to enhance

DOGE’s effectiveness by providing insight into bureaucratic challenges and by

identifying practical solutions to streamline processes, reduce waste, and improve

operations. Dr. Kelly also noted that AFGE would be an important voice for

advocating for the resources that government employees need to effectively perform

their duties while supporting fair treatment, equitable pay, and safe working

conditions. AFGE has not received a response to Dr. Kelly’s letter.

      45.    Defendants have not acknowledged that DOGE is an advisory

committee under FACA. Defendants have not filed, or caused to be filed, a charter for

DOGE, as required by FACA.

      46.    On information and belief, Defendants do not intend to (1) acknowledge

that DOGE is an advisory committee under FACA, (2) ensure that DOGE will be

fairly balanced in terms of points of view expressed and the functions to be performed,

or (3) take steps to prevent DOGE’s advice and recommendations from being

improperly influenced by administration officials or any special interest.

      47.    On information and belief, Defendants (1) will allow DOGE to meet

without a charter being filed, (2) will not ensure that advance notice of meetings are



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published in the Federal Register, and (3) will not permit interested members of the

public to attend DOGE meetings.

      48.    On information and belief, Defendants (1) will not ensure that DOGE

makes available to the public the records, reports, transcripts, minutes, appendixes,

working papers, drafts, studies, agenda, or other documents which were made

available to or prepared for or by DOGE, (2) will not ensure that DOGE makes

minutes and transcripts of meetings available, and (3) will allow DOGE to meet

without the meeting being called or attended by a designated Federal officer or

employee.

      49.    On information and belief, Defendants do not intend to appoint

representatives to DOGE that will ensure a fair balance of views.

      50.    Defendants’ refusal to acknowledge that DOGE is an advisory

committee under FACA and to comply with FACA’s requirements directly affects

Plaintiffs’ missions and their advocacy, and deprives them of access to information

and meetings.

      51.    Public Citizen was established to hold the government and corporations

accountable to the people, including by focusing on research and advocacy with

respect to strong, smart regulation of health, safety, consumer finance, and the

environment. Public Citizen’s mission will be directly affected by DOGE’s work.

Public Citizen advocates for the enactment and implementation of regulatory and

spending programs that benefit consumers and the public. Public Citizen has an

organizational interest in having its representatives on DOGE and in having access



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to information so that it can identify, understand, and comment on recommendations

developed by DOGE to constrain federal regulatory efforts or limit federal

expenditures that promote health, safety, or the environment.

      52.    SDDF was established to defend and strengthen democracy while

ensuring that Americans are able to freely exercise their fundamental rights. SDDF

seeks to advance pro-democracy goals such as promoting a government free from

conflicts of interest, self-dealing and corruption. As currently structured, DOGE

presents the risk of financial conflicts, self-dealing, and corruption because Mr. Musk

and Mr. Ramaswamy are corporate investors whose financial interests could be

implicated by changes to the federal government’s regulatory or fiscal policy made as

a result of the recommendations that they will furnish the administration. SDDF

therefore has an organizational interest in being represented on DOGE so that it can

detect potential conflicts of interest, and in having access to DOGE records and

information to help enable it to detect potential conflicts.

      53.    AFGE represents federal workers who will be directly affected by DOGE

and its mission. Messrs. Musk and Ramaswamy have expressed their intention to

achieve spending cuts by reducing the federal workforce by recommending changes

to their working conditions and through other means. AFGE therefore has an

organizational interest in having the viewpoints of federal workers represented on

DOGE, and in being able to view DOGE records and attend and participate in

meetings in which recommendations concerning the federal workforce will be

addressed.



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       54.    Defendants’ failure to subject DOGE to the requirements of FACA

harms Plaintiffs’ interests in two ways. First, by refusing to comply with FACA’s fair-

balance requirement, Defendants have denied Plaintiffs an opportunity to be fairly

considered for DOGE as voices for the interests of consumers and public interest,

persons interested in protecting government from corruption and self-dealing, and

representatives of government employees, all of whom will be affected by the advice

and recommendations that DOGE develops regarding the administration’s

regulatory and spending policy. The lack of fair balance harms Plaintiffs by depriving

them of the opportunity to ensure that their viewpoints are represented in DOGE’s

membership.

       55.    Second, by refusing to recognize DOGE as an advisory committee,

Defendants shield DOGE’s records from public inspection and permit DOGE to meet

and conduct business without complying with FACA’s prior-notice and public-

participation requirements. This violation will deny Plaintiffs access to information

about DOGE’s work, advice, and recommendations and deny Plaintiffs the ability to

participate in DOGE meetings and present their views to DOGE on regulatory and

fiscal reforms that DOGE should consider.

                                      COUNT I
                                 (Violation of FACA)

       56.    Plaintiffs repeat and incorporate by reference each of the foregoing

allegations as if fully set forth herein.

       57.    DOGE is an advisory committee under FACA because it is a “committee,

board, commission, council, conference, panel, task force, or other similar group”


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established or utilized by President Trump or OMB “in the interest of obtaining

advice or recommendations for the President or one or more agencies or officers of the

Federal Government.” 5 U.S.C. § 1001(2)(A).

       58.     By failing to file a charter for DOGE, or failing to cause such a charter

to be filed, Defendants have not complied with FACA’s non-discretionary requirement

under 5 U.S.C. § 1008(c). The consequence of Defendants’ failure to file a charter that

reflects DOGE’s status as an advisory committee is to prevent Plaintiffs from

exercising their rights under 5 U.S.C. §§ 1009 & 1010 to obtain DOGE documents

and attend and participate in DOGE meetings. In these respects, President Trump

has violated a non-discretionary duty required by FACA, and, under the

Administration Procedure Act (APA), OMB has unlawfully withheld or unreasonably

delayed agency action, 5 U.S.C. § 706(1), and acted contrary to law, id. § 706(2)(A).

       59.     By failing to ensure that DOGE is fairly balanced in terms of the points

of view represented and the functions to be performed by the advisory committee,

Defendants have failed to comply with FACA’s non-discretionary requirement under

5 U.S.C. § 1004. Therefore, President Trump has violated a non-discretionary duty

required by FACA, and, under the APA, OMB has unlawfully withheld or

unreasonably delayed agency action, 5 U.S.C. § 706(1), and acted contrary to law, id.

§ 706(2)(A).

       60.     OMB’s failure to comply with FACA in relation to DOGE is “final agency

action for which there is no other adequate remedy in a court,” and therefore is

“subject to judicial review.” Id. § 704; see id. § 702.



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                              PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that this Court:

      1.     Declare that Defendants’ creation and administration of DOGE violates

FACA, and that DOGE is therefore unlawful;

      2.     Enjoin Defendants from utilizing DOGE as an advisory committee

unless and until Defendants comply with FACA;

      3.     Through the named Defendants, enjoin DOGE from meeting, advising

Defendants, and otherwise conducting DOGE business unless and until Defendants

comply with FACA;

      4.     Order Defendants to file a charter for DOGE;

      5.     Order Defendants to comply with the fair-balance requirements of

FACA;

      6.     Order Defendants to ensure that DOGE complies with its other FACA

duties, including the duty to provide advance notice of DOGE meetings in the Federal

Register; to allow the public to participate in meetings, and to provide public access,

to the extent required by FACA, to all records, reports, transcripts, minutes,

appendices, working papers, drafts, studies, agendas, and other documents that have

been made available to, or prepared for or by, DOGE;

      7.     Award Plaintiff its costs, attorneys’ fees, and other disbursements for

this action; and

      8.     Grant any other relief this Court deems appropriate.




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Dated: January 20, 2025                  Respectfully submitted,

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